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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION

JOHN C. WALKER                                                                           PLAINTIFF

v.                                    Case No. 4:14-cv-04055-SOH

TA OPERATING LLC d/b/a
PETRO STOPPING CENTERS                                                                 DEFENDANT

          BRIEF IN SUPPORT OF DEFENDANT’S RULE 37(d) MOTION FOR
              SANCTIONS FOR FAILURE TO ATTEND DEPOSITION

       Defendant TA Operating LLC d/b/a Petro Stopping Centers (“Defendant” or “TA”)

submits this brief in support of its motion seeking an Order imposing sanctions on Plaintiff John

C. Walker under Federal Rule of Civil Procedure 37(d) for his failure to appear for deposition.

I.     SUMMARY

       Sanctions against Plaintiff are warranted under Rule 37(d) of the Federal Rules of Civil

Procedure because Plaintiff failed to appear for his own properly-noticed deposition. The facts

are straightforward: Defendant served Plaintiff with a valid notice of deposition, stating that the

deposition was set to occur on February 16, 2015. But Plaintiff failed to appear at the designated

time and place. Plaintiff does not dispute receiving the notice and does not allege that a

preexisting commitment kept him from the deposition. Nor did he object to or move to quash the

notice. Instead, he merely refused – and still refuses – to appear for deposition under any

circumstances, unless Defendant produces additional documents in response to Plaintiff’s

discovery requests. Because the Federal Rules do not allow a party to intentionally avoid his own

deposition in this manner, Plaintiff is subject to the sanction of dismissal or, in the alternative, to

a lesser sanction such as payment of Defendant’s attorneys’ fees and other expenses incurred in

its attempt to take his deposition.
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II.       CASE BACKGROUND

          This is a constructive discharge and racial harassment case. Plaintiff Walker alleges that

he was subjected to unwelcome harassment based on his race during his short employment with

TA. Walker claims that he saw what he thought was rope fashioned into a small noose in a

stockroom and, on one other occasion, he heard a co-worker make noises that he considered to

be “monkey sounds.” 1 Walker alleges that these incidents made him feel “threatened” and that he

resigned on February 6, 2012. 2 Plaintiff filed his Complaint on April 7, 2014, and the parties

have exchanged written discovery.

III.      FACTUAL BACKGROUND.

          1.         On January 8, 2015, counsel for Defendant sent a letter to counsel for Plaintiff

requesting a date for Plaintiff’s deposition. 3 Counsel for Plaintiff did not respond to the letter.

          2.         On January 15, 2015, counsel for Defendant sent a second letter to counsel for

Plaintiff with the same request, stating that it was necessary to schedule Plaintiff’s deposition as

soon as possible due to impending case deadlines. 4 Counsel for Plaintiff did not respond to this

second request.

          3.         Having received no further communications from Plaintiff’s counsel, Defendant’s

counsel served Plaintiff with a notice of deposition on January 30, 2015. 5 The notice required

Plaintiff to appear for deposition on February 6, 2015.

          4.         On February 2, 2015, Plaintiff’s counsel called Defendant’s counsel regarding the

notice and stated that Plaintiff refused to appear for deposition until Defendant supplemented its

1
    See Complaint [Doc. No. 1], ¶¶ 13-32.
2
    See id., ¶ 32.
3
    Exhibit A (1/8/2015 letter).
4
    Exhibit B (1/15/2015 letter).
5
    Exhibit C (1/30/2015 Notice of Deposition of John Walker).


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discovery responses (served on January 15, 2015) to Plaintiff’s counsel’s satisfaction by

producing additional documents. Later the same day, Defendant’s counsel received an email with

an attached letter from Plaintiff’s counsel explaining that he had pretrial hearing in Pulaski

County on February 6, 2015, and was therefore unavailable for deposition on February 6. 6

Plaintiff’s counsel’s email further reiterated his intent not to allow Plaintiff’s deposition to

proceed until after Defendant supplemented its responses to Plaintiff’s Interrogatories and

Requests for Production to his satisfaction. 7 The letter stated:

          During our conversation today, you request [sic] that I make my client available
          for deposition. I told you that when you properly respond to my discovery
          requests, I will make him available for deposition. . . . Having my client
          subjected to a deposition, when the defendant has objected to just about every
          discovery request, would put my client in a position of being deposed, without
          have [sic] the benefit of vital information that is in the hands of the defendant,
          which is not fair. I want you to depose my client, but only after giving him the
          benefit of having some information that is critical to his claim. 8

          5.     Because Plaintiff’s counsel had indicated that he had a hearing set for February 6,

Defendant’s counsel amended the notice of Plaintiff’s deposition, rescheduling the deposition for

February 16, 2015. 9 On February 2, 2015, Defendant’s counsel served Plaintiff with the

amended notice of deposition. 10 In an accompanying letter, Defendant’s counsel explained that




6
    Exhibit D (2/2/2015 email and letter).
7
    Id.
8
    Id. (emphasis added).
9
  Plaintiff filed a Motion for Continuance and to Re-Establish Discovery and Motion Deadlines
on February 12, 2015, in which Plaintiff’s counsel confirmed that his case originally set for trial
the week of February 17, 2015, had been dismissed on February 9. See Doc. No. 13, ¶ 6.
According to the Motion, Plaintiff's counsel had no trial settings in February and only one setting
in March 2015. Id.
10
   Exhibit E (2/2/2015Amended Notice of Deposition and accompanying letter). Plaintiff’s
counsel thereafter informed Defendant’s counsel he was set for trial on February 17, 2015, but he
later informed Defendant’s counsel this trial conflict had been resolved.


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Plaintiff was not entitled to unilaterally cancel a deposition over a dispute about the sufficiency

of written discovery responses. 11

          6.     On Thursday, February 12, 2015, Plaintiff’s counsel filed a motion for

continuance regarding several case deadlines. 12 In the motion, counsel provided his trial schedule

for February and March. The motion did not indicate that counsel had a preexisting commitment

for February 16, the date of Plaintiff’s deposition, or anytime that week. Nor did the request for

continuance seek to postpose Plaintiff’s deposition. In fact, the motion made no mention of the

date set for Plaintiff’s deposition. 13

          7.     Also on February 12, Defendant’s counsel emailed Plaintiff’s counsel regarding

the deposition set to occur on February 16. In the email, Defendant’s counsel offered to amend

the deposition notice once again, moving it from Monday, February 16, to Friday, February 20,

on the condition that Plaintiff appear for deposition on that date. 14 Plaintiff’s counsel failed to

respond to the email.

          8.     On February 16, 2015, Plaintiff and his counsel failed to appear for deposition

pursuant to the amended deposition notice. Defendant’s counsel recorded a certificate of

nonappearance. 15 Defendant’s counsel received no notice that Plaintiff would not appear for

deposition after his February 12 email. At no time either before or after the February 12 email




11
     See id.
12
     See Doc. No. 13.
13
     See id.
14
  Exhibit F (2/12/2015 email). At no point did Plaintiff’s counsel ever claim a conflict with the
deposition date of February 16. Defendant offered to amend the notice simply in an effort to be
accommodating because Plaintiff’s counsel claimed to be busy preparing for a March trial,
which, at that point, was more than two weeks away.
15
     Exhibit G (2/16/2015 Certified Nonappearance of Plaintiff).


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did Plaintiff's counsel indicate that he had any conflict with the February 16 deposition date, only

that he was generally busy preparing for a trial set to start during the week of March 2, 2015. 16

          9.       Plaintiff failed to object to the deposition or to file a motion for a protective order

to forestall the deposition. As a result, Defendant has unnecessarily incurred expenses in

arranging a court reporter, a rented conference room, travel expenses, and other costs associated

with the deposition, which was properly noticed under the Federal Rules.

IV.       ARGUMENT AND AUTHORITIES

          A.       Standard for sanctions under Rule 37(d) for failure to appear for deposition

          Under Rule 37(d), a court may issue sanctions if a “party . . . fails, after being served with

proper notice, to appear for that person’s deposition.” These sanctions may include:

               •   prohibiting the disobedient party from supporting or opposing designated claims
                   or defenses, or from introducing designated matters in evidence;

               •   striking pleadings in whole or in part;

               •   staying further proceedings until the order is obeyed;

               •   dismissing the action or proceeding in whole or in part; or

               •   rendering a default judgment against the disobedient party.

FED. R. CIV. P. 37(b)(2)(A)(i)-(vi); see also FED. R. CIV. P. 37(d)(3). The Eighth Circuit has

explained, “[a]lthough dismissal with prejudice is a severe sanction, the court may impose such a

sanction where the plaintiff has engaged in a pattern of intentional delay.” First Gen. Res. Co. v.

Elton Leather Corp., 958 F.2d 204, 206 (8th Cir. 1992). “The court does not need to find that the

plaintiff acted in bad faith, merely that the plaintiff acted deliberately as opposed to

accidentally.” Id. Thus, dismissal may be appropriate where a party has deliberately failed to

attend its own deposition. See Harris v. Unknown Mack, 221 F.3d 1342 (8th Cir. 2000)

16
     See Exhibit F.


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(affirming district court’s dismissal of action with prejudice as a discovery sanction, based on

plaintiff’s deliberate failure to attend two scheduled depositions); Setzke v. Whitmill, 241 Fed.

Appx. 351 (8th Cir. 2007) (dismissal of employment discrimination claim was appropriate

sanction for plaintiff’s failure to appear for deposition).

       “Instead of or in addition to [the sanctions enumerated above], the court must require the

party failing to act, the attorney advising that party, or both to pay the reasonable expenses,

including attorney’s fees, caused by the failure, unless the failure was substantially justified or

other circumstances make an award of expenses unjust.” FED. R. CIV. P. 37(d)(3) (emphasis

added). “A district court has wide latitude in imposing sanctions for failure to comply with

discovery” under Rule 37(d). Aziz v. Wright, 34 F.3d 587, 589 (8th Cir. 1994) (affirming

dismissal of action because of a party’s failure to appear for deposition); see also Hudson v.

Pinnacle Teleservices, 241 Fed. Appx. 340 (8th Cir. 2006) (affirming district court’s award of

attorney fees and costs to defendant for employment discrimination plaintiff’s failure to appear at

depositions); Stephen L. LaFrance Holdings, Inc. v. Sorensen, 278 F.R.D. 429, 438 (E.D. Ark.

2011) (sanction of attorneys’ fees and costs related to deposition was warranted where party

failed to attend deposition and filed untimely motion to quash deposition notice).

       B.      Sanctions are warranted for Plaintiff’s nonappearance at his deposition.

       Here, Plaintiff intentionally failed to attend his own deposition without a good reason.

Defendant made two initial requests to Plaintiff for a date for his deposition. After receiving no

response at all from Plaintiff’s counsel, Defendant served Plaintiff with a valid notice of

deposition. Later, Defendant’s counsel, in an effort to accommodate Plaintiff’s counsel’s

allegedly busy schedule, moved the deposition from its original date and then offered to move it

a second time if Plaintiff would only agree to appear for deposition as required by Rule 30.




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       At no point did Plaintiff ever claim a conflict with the deposition date of February 16,

and, most significantly, at no point did he move for a protective order with respect to the

deposition notice. FED. R. CIV. P. 37(d)(2) (A party is not excused from appearing “on the

ground that the discovery sought was objectionable, unless the party failing to act has a pending

motion for a protective order under Rule 26(c).”); Richardson v. BNSF Ry. Co., No. 13-5415,

2014 U.S. Dist. LEXIS 147985, at*3-4 (E.D. La. Oct. 16, 2014) (“A lawyer has no authority

unilaterally to cancel a deposition that is reasonably noticed in writing pursuant to Fed. R. Civ. P.

30(b)(1), which is a step only the court is empowered to take.”). Defendant’s counsel affirmed

his intent to go forward with the deposition four days before the scheduled date, but also

provided Plaintiff with an alternative date in the event he or his counsel were not available.

Defendant received no response and, on the date of the deposition, Plaintiff failed to appear. As a

result, Defendant incurred costs associated with scheduling a court reporter, reserving a location

near Plaintiff’s residence for the deposition, and travel to the deposition, as well as attorneys’

fees in preparing for and attending the deposition.

       Plaintiff has no good reason for his nonappearance. As correspondence from Plaintiff’s

counsel indicates, this was no mistake. Nor is it merely a disagreement over scheduling. Plaintiff

simply refused to appear – and still refuses to appear – because of an alleged dispute over the

sufficiency of Defendant’s responses to written discovery. 17 But neither the Federal Rules nor

any other relevant legal authority allows Plaintiff to hold hostage his own deposition over an

unrelated discovery dispute. See FED. R. CIV. P. 26(d)(2) (“methods of discovery may be used in

any sequence; and . . . discovery by one party does not require any other party to delay its


17
  On February 19, Defendant’s counsel asked Plaintiff’s counsel if they could schedule a call to
discuss these issues. Plaintiff’s counsel responded that he had a jury trial coming up on March 2
and he was “not sure” when he could schedule a call. He has not responded further on the issue.


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discovery.”); Buschmohle v. WWRD US, LLC, No. 13-CV-10613, 2014 U.S. Dist. LEXIS 53831,

at *4-5 (E.D. Mich. Apr. 18, 2014) (citing Rule 26(d)(2) and stating, “Plaintiff provides no legal

basis for her assertion that she is not required to comply with a Notice of Deposition if

Defendant has not completely responded to her discovery requests.”); Garmin Ltd. v. TomTom,

Inc., No. 2:06-CV-338 (LED), 2007 U.S. Dist. LEXIS 74032, at *23 (E.D. Tex. Oct. 3, 2007)

(“As Rule 26(d) clearly states, one party may not unilaterally decide when to withhold

discovery.”).

       At best, Plaintiff is using his own deposition as a bargaining chip; at worst, he’s

intentionally obstructing the discovery process. Because Plaintiff has acted “deliberately” to

avoid his deposition, the sanction of dismissal is warranted. See Elton Leather, 958 F.2d at 206;

Stevenson v. Bartlo, 8 Fed. Appx. 580 (8th Cir. 2001) (district court did not abuse its discretion

by dismissing plaintiff’s employment discrimination complaint with prejudice as a discovery

sanction where plaintiff failed to appear for his deposition).

       In the alternative, if the Court is inclined not to dismiss Plaintiff’s action, it should

sanction Plaintiff by ordering him to appear for deposition, staying the case until the deposition

occurs, and awarding Defendant its attorneys’ fees and costs associated with its previous attempt

to take Plaintiff’s deposition and in preparing this motion. See Wanbaugh v. Fields, CIV.05-

5214, 2008 WL 619208, at *2 (W.D. Ark. Mar. 4, 2008) (granting the defendants’ Rule 37(d)

motion, ordering the plaintiff to pay the defendants’ attorneys’ fees and costs incurred in

attempting to take plaintiff’s deposition, and ordering the plaintiff to appear for his deposition at

counsel for defendants’ office within ten days of the order, and staying the case until the plaintiff

complied with the order). Because Plaintiff has expressed his unwillingness to appear for

deposition voluntarily, this action is necessary to allow Defendant to complete discovery.




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V.     CONCLUSION

       Plaintiff failed to appear for a deposition which was properly noticed under Rule 30, and

has stated that he will not appear for deposition in this matter until Defendant capitulates to his

demand for additional documents. Under the Federal Rules and relevant controlling authority,

this behavior is subject to sanctions. Defendant thus requests a sanction of dismissal of Plaintiff’s

claims or, in the alternative, a sanction consisting of an Order (1) compelling Plaintiff to appear

for deposition, (2) administratively staying the case until the deposition occurs, and (3) an award

of attorneys’ fees and expenses incurred by Defendant due to Plaintiff’s nonappearance for his

deposition.

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                                CERTIFICATE OF SERVICE

       I certify that on March 19, 2015, I electronically transmitted the attached document to the
Clerk of Court using the ECF System for filing. Based on the records currently on file, the Clerk
of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

       Austin Porter, Jr.
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                                                     /s/ Jeffrey B. Chugg




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